      Case 4:09-cr-00585 Document 41 Filed on 01/21/10 in TXSD Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
                                                 §
                                                 §
VS.                                              §   CRIMINAL NO. H-09-585
                                                 §
                                                 §
                                                 §
ABELARDO GUERRA, et al.                          §

                                          ORDER

       The government filed an unopposed motion to certify the case as complex, (Docket

Entry No. 37). The motion is granted. The case will be deemed complex.

       The defendants filed an unopposed joint motion for continuance, (Docket Entry No.

40). The court finds that the interests of justice are served by granting this continuance and

that those interests outweigh the interests of the public and the defendants in a speedy trial.

The motion for continuance is GRANTED. The docket control order is amended as follows:

       Motions are to be filed by:                   March 22, 2010
       Responses are to be filed by:                 April 5, 2010
       Pretrial conference is reset to:              April 12, 2010, at 8:45 a.m.
       Jury trial and selection are reset to:        April 19, 2010, at 9:00 a.m.


              SIGNED on January 21, 2010, at Houston, Texas.

                                                ______________________________________
                                                           Lee H. Rosenthal
                                                      United States District Judge
